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IN THE UNITED STATES DISTRICT COURT md 3 ply §
FOR THE WESTERN DISTRICT OF TENNESSEE ‘.{;,i/ il 01 § 5_,0
EASTERN DIVISION ' 7 1 O'OO//»_\_ §

 

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ANTHONY G. CLARKE, §
Plaintif`f`, §

vs. § No. 04-1275-T/Ar1
STATE OF TENNESSEE, et al., §
Defendants. §
l

 

ORDER GRANTING MOTION TO PROCEED M FORMA PAUPERIS
ORDER DENYING MOTION FOR CLASS CERTIFICATION
ORDER DENYING MOTION FOR INJUNCTIVE RELIEF
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintif`f Anthony G. Clarke, a resident of Saltillo, Tenuessee, Who Was previously
confined as an inmate at the Hardin County Jail (HCJ), filed a complaint under 42 U.S.C.

§ 1983, along with motions to proceed ip forma pauperis and for injunctive relief. Clarke

 

was released from the HCJ on September 5, 2004, and filed his complaint on 0ctober 20,

2005. The motion to proceed in forma pauperis is GRANTED.1 'l`he Clerk shall record the

 

1 The Prison Litigation Reform Act of 1995, (PLRA), 'l`itle VIII of Pub.L. 104-134, 110 Stat. 1321
(April 26, 1996), which amended the i_n forma pauperis statute, 28 U.S.C. § 1915, does not apply to a complaint once
the plaintiff is released from prison.

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defendants as the State of Tennessee, Phil Bredesen, Quentin White, Kevin Davis, Gary
Austin, and Hardin County.2
I. Class Action

The preliminary issue raised by this case is the plaintiff’ s attempt to orchestrate What
is, in effect, a class action. Although the complaint lists only Anthony G. Clarke as plaintiff,
his allegations are on behalf of “prisoners” at the HCJ. No other prisoner signed the
complaint or submitted affidavits to proceed i_n fm pa_up_e@. Fed. Rule Civ. P. 11
requires that every pleading be signed by an attorney, or if the party is not represented by an
attorney, be signed by the party. Accordingly, as Clarke is the only plaintiff to comply with
Rule 11, he is the only plaintiff in this case.

lnsofar as Clarke is attempting to seek class certification under Fed. R. Civ. P.
23(a)(4), he is not entitled to file this case on behalf of any other inmate. _EQ § Prisoners
are not adequate class representatives able fairly to represent the claims of the class.
Inmates, Washington Coung; Jail v. England, 516 F. Supp. 132 (E.D. Tenn. 1980), M, 659
F.2d 1081 (6th Cir. 1981). Neither does plaintiff have a cause of action under § 1983
against any defendant based on his witnessing alleged violations of the constitutional rights
of other inmates. Coon v. Ledbetter, 780 F.2d 1158, 1160-61 (Sth Cir. 1986); Rogers v.
M, No. 95-2220-M1/Bre WV.D. Tenn. Apr. 28, 1995) (following Coon in dismissing

claims by jail detainee as frivolous). § Jaco v. Bloechle, 739 F.2d 239, 241 (6th Cir.

 

2 Plaintiff named the HCJ as a defendant The Jail is not a suable entity. Therefore the Court

construes the complaint to name Hardin County as the defendant w Hafer v. Melo 502 U.S. (1991).

 

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1984)(holding § 1983 cause of action is personal to the injured paffy); Kl'um v. Sheppard,
255 F. Supp. 994, 997 (W.D. Mich. l966)(holding only an injured party has standing to
sue). Clarke, thus, cannot assert any violations of other inmates’ rights.

Furthermore, the attempted class action interferes with the Court’s duty to apply §
l997e(a) as a threshold matter to this case. The Sixth Circuit has held that 42 U.S.C. §
1997e(a) requires a federal court to dismiss without prejudice whenever a prisoner brings
a prison conditions claim without demonstrating that he has exhausted his administrative
remedies. Brown v. Toombs, 139 F.3d 1 102, 1 104 (6th Cir. 1998). This requirement places
an affirmative burden on prisoners of pleading particular facts demonstrating the complete
exhaustion of claims. Knuckles El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).

The conclusory complaint raises multiple issues. Each individual prisoner must
demonstrate that he has exhausted his available administrative remedies on each claim
presented. The complaint fails to make such a demonstration as to any purported plaintiff.
“District courts should not have to hold time-consuming evidentiary hearings in order simply
to determine whether [they] should reach the merits or decline under the mMy language
of § 1997e ("No action shall be brought . . . .")." I_d. (emphasis added). Furthermore,
Knuckles-El indicates that this inquiry is jurisdictional: "[i]n the absence of specific
averments, a district court must hold an evidentiary hearing or otherwise spend a lot of time
with each case just trying the find out whether it has jm_’ism to reach the merits." Ld.

(emphasis added).

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To the extent that the complaint may be construed as containing a motion for class
certification, the motion is DENIED. Any other inmate seeking to file a complaint must do
so independently after exhausting administrative remedies on the claim he wishes to raise.
II. Analysis of Claims

Plaintiff sues the State of Tennessee, Governor Phil Bredesen, Tennessee Department
of Correction Commissioner Quentin White, Hardin County Mayor Kevin Davis, Hardin
County, and HCJ Jail Administrator Gary Austin alleging that HCJ policies and procedures
violate the constitutional rights of jail inmates Plaintiff lists as major issues: healthcare,
diet, exercise, discipline, court access, library access, inadequate grievance procedure,
interference with legal mail, jail conditions, and poor management The majority of
plaintiffs claims are phrased in conclusory fashion on behalf of all prisoners at the HCJ,
therefore the claims do not relate facts demonstrating any specific deprivation or act
committed by any defendant which affected the plaintiff personally. Plaintiff does allege
that he was “threatened” with a maximum security cell for petitioning city and county
officials on behalf of other prisoners regarding jail conditions and after submitting a
grievance to Jail Administrator Gary Austin because plaintiffs privileges had been
suspended

Plaintiff’ s claims against the State of Tennessee are barred by sovereign immunity
Absent a clear abrogation of immunity by congressional action or an express state waiver

of that immunity, the Eleventh Amendment prohibits suits against a state in federal court.

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Kentucky v. Graham, 473 U.S. 159, 165-66 (1985); Pennhurst State Schl. & Hosp. v.
Halderman, 465 U.S. 89, 98-100 (1984); Quern v. iordan, 440 U.S. 332 (1979). A state is
not a person within the meaning of 42 U.S.C. § 1983. Will v. Michigan, 491 U.S. 58, 71
(1989). Even to the extent that a suit seeks only injunctive relief against the State, the

Eleventh Amendment still bars the action. Idaho v. Coeur D'Alene Tribe of Idaho, 117 S.

 

Ct. 2028, 2041-42 (1997).

Furthermore, a city or county can only be held liable under § 1983 for a custom or
policy that results in the deprivation of` the plaintiffs constitutional rights. A city or county
"is not vicariously liable under § 1983 for the constitutional torts of its agents: lt is only
liable when it can be fairly said that the city [or county] itself is the wrongdoer." Collins v.
City of Harker Heights, Tex., 503 U.S. 1 15, 121 (1992). §§ w Jett v. Dallas Independent
School District, 491 U.S. 701, 726-29 (1989)(discussing history of civil rights statutes and
concluding that Congress plainly did not intend to impose vicarious liability on counties,
municipalities or other local governmental bodies); Citv of Canton. Ohio v. Harris, 489 U.S.
378, 388 (1989)(rejecting simple vicarious liability for municipalities under § 1983); C_ity
of St. Louis v. Praprotnik, 458 U.S. 112, 122 (1988)(interpreting rejection of respondeat
superior liability by Monell v. Dept. of Soc. Serv., 436 U.S. 65 8, 691 (1978), as a command
that "local governments . . . should be held responsible when, and only when, their official

policies cause their employees to violate another person's constitutional rights"); Pembaur

v. City of Cincinnati, 475 U.S. 469, 480-81 (1986)(same); Stemlerv. City of Florence, 126

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F.3d 856, 865 (6th Cir. 1997)(rejecting claims against city and county and holding that “in
order to state a claim against a city or a county under § 1983, a plaintiff must show that her
injury was caused by an unconstitutional ‘policy’ or ‘custom’ of the municipality”, citing
E_M). None of the facts alleged supports an inference that plaintiffs alleged damages
resulted from an unconstitutional custom or policy of the city or county.

Furtherrnore, plaintiff alleges no specific actions by defendants Bredesen, White, and
Davis. lt is well settled that an individual defendant's liability under § 1983 must be
predicated upon some showing of direct, active participation in the alleged misconduct
Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984). Thcre is no respondeat superior

liability under § 1983. Monell, 436 U.S. at 658. When a plaintiff completely fails to allege

 

any action by a defendant it necessarily "appears beyond doubt that the plaintiff can prove
no set of facts which would entitle him to relief." Sprume v. Walters, 753 F.2d 498, 500
(6th Cir. 1985). It is clear that plaintiff relies entirely on the supervisory capacity of these
defendants over state and county facilities as the basis for any claims that they violated
plaintiffs constitutional rights.

Clarke alleges that defendant Austin “threatened” him with placement in a maximum
security cell. Neither verbal harassment nor the mere use of abusive language by prison
officials can support liability under § 1983. Ivey v. Wilson, 832 F.2d 950, 955 (6th Cir.
1987)(holding that verbal abuse or harassment does not constitute punishment under the

Eighth Amendment); Martin v. Sargent, 780 F.2d 1334, 1338 (8th Cir. 1985)(holding verbal

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threats to reclassify a prisoner non-cognizable under § 1983); Banks v. Klapish, 717 F.
Supp. 520 (W.D. Mich. 1989); Gilson v. Cox, 711 F. Supp. 354 (E.D. Mich. 1989);_1_{M
v. Stephenson, 626 F. Supp. 886, 888 (W.D. Tenn. 1986); Coer v. Hughs, 436 F. Supp.
591, 593 (W.D. Okla. 1977)(threatening words and gestures by custodial officer do not
amount to a constitutional violation).

As to Clarke’s claims for injunctive relief, any claims for injunctive relief are moot
since he is no longer confined at the HCJ. "'In general a case becomes moot when the issues
presented are no longer "live" or the parties lack a legally cognizable interest in the
outcome.'" Mumhy v. Hunt, 455 U.S. 478, 481 (1982)(quoting United States Parole
Comm'n v. Geraghgg, 445 U.S. 388, 396 (1980)).

The absence of a presently live controversy may not render a case moot if it falls
within the exception of being "capable of repetition, yet evading review." M, 455 U.S.
at 482. Two elements must exist for this exception to apply: the shortness of the challenged
action would prevent litigation before it ends, and the reasonable expectation that the
petitioner will again be subjected to the same action. I_d.

This case does not pass the evading review prong of the test A "mere physical or
theoretical possibility" will not satisfy this test my, 455 U.S. at 482. The petitioner
must show "a reasonable expectation or a demonstrated probability that the same controversy
Will recur." I_d_. w Thompson v. Smith, 719 F.2d 938 (8th Cir. 1983); P_ec_lg_\/_.MM,

650 F.2d 929 (8th Cir. 1981); Willis v. Ciccone, 506 F.2d 1011 (8th Cir. 1974)(all holding

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moot a conditions of confinement challenge because the prisoner Was no longer confined
in the allegedly offending institution).

Here, plaintiff does not allege any facts that would support a claim of reasonable
expectation or demonstrated probability that this same controversy will recur. In particular,
he does not allege any expectation or probability that he Will again find himself confined at
the HCJ. His claims for injunctive relief are thus moot.

Accordingly, the entire complaint fails to state a claim upon which relief may be
granted. As the complaint fails to state a claim, it is DISMISSED pursuant to 28 U.S.C. §
1915(e)(2)(B)(ii).

II- Anp_€.alw
The next issue to be addressed is whether plaintiff should be allowed to appeal this

decision i___n forma pauperis Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may

 

not be taken i_n_ forma pauperis if the trial court certifies in writing that it is not taken in good

 

faith.

The good faith standard is an objective one. Coppcdge v. United States, 369 U.S.
43 8, 445 (1962). The same considerations that lead the Court to dismiss this complaint for
failure to state a claim also compel the conclusion that an appeal would also fail to provide
any basis for relief.

It is therefore CERTIFIED, pursuant to 28 U.S .C. § 1915(a)(3), that any appeal in this

matter is not taken in good faith, and the plaintiff may proceed on appeal ip forma pauperis

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The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does not affect an indigent
prisoner plaintiffs ability to take advantage of the installment procedures contained in §

l915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). McGore sets

 

out specific procedures for implementing the PLRA. Therefore, the plaintiff is instructed
that if he Wishes to take advantage of the installment procedures for paying the appellate

filing fee, he must comply with the procedures set out in McGore and § 1915(b).

 

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IT IS SO ORDERED this z day of May, 2005.

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JAMES D. TODD
UNITE STATES DISTRICT JUDGE

STAsTE DISTRICT oURT - WESTENR DIS"RICT oF T'NN'ESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case l:04-CV-01275 was distributed by fax, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

Anthony Glen Clarke
P. O. Box 24
Saltillo7 TN 38370

Honorable .l ames Todd
US DISTRICT COURT

